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               IN THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF THE STATE OF OKLAHOMA

(1) NORTH AMERICAN SPECIALTY                     )
INSURANCE COMPANY,                               )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               )
                                                 )
(2) BRATT PRODUCTIONS, INC.                      )                     1058-W
                                                      Case No. 15-cv- _____________
                                                 )    The Honorable
       Defendant.                                )

                                          COMPLAINT

       The Plaintiff, North American Specialty Insurance Company (“North American” or

“Plaintiff”), for its Complaint against the Defendant, Bratt Productions, Inc. (“Bratt” or

“Defendant”), alleges and states:

                              PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff, North American, is incorporated and has its principal place of business in

the State of New Hampshire.

       2.      Defendant, Bratt, is incorporated and has its principal place of business in the State

of Texas. Bratt is subject to the personal jurisdiction of the State of Oklahoma.

       3.      The incidents that give rise to North American’s cause of action occurred in Canadian

County, State of Oklahoma, within the Western District of Oklahoma.

       4.      Jurisdiction in this Court is predicated upon diversity of citizenship pursuant to 28

U.S.C. § 1332, because this is an action between citizens of different states. The amount in

controversy in the present case exceeds $75,000, exclusive of interest and costs.

       5.      Pursuant to 28 U.S.C. § 1321, venue properly lies in the Western District of

Oklahoma, due to the fact that Defendant is subject to the personal jurisdiction of the State of
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Oklahoma, and because the actions/inactions which give rise to Plaintiff’s cause of action against

Defendant took place within the Western District of Oklahoma.

                                      FACTUAL BACKGROUND

        6.      North American issued a commercial insurance policy, Policy No. EKN5001761-00,

to its named insured, PM Group/CEU, Inc., for the policy period of April 24, 2014, to April 24,

2015. This policy insured, among other things, a tent purchased from Allsite Structure Rentals at

a cost of $631,770.00. The tent was installed behind the Lucky Star Casino in Concho, Oklahoma,

and used for special events. North American insured the tent, at replacement cost, in the amount of

$631,770, subject to a $5,000 deductible.

        7.      The Event Tent, LLC, as a former owner of the subject tent, entered into a lease

agreement with the Lucky Star Casino in approximately November 2010, in which it was agreed that

the subject tent would be located on the property located immediately behind the Lucky Star Casino.

The lease agreement provided that the lease term would expire when the tent left the Lucky Star

premises or upon the lease expiration date, as set forth in the agreement. In late 2014, the Lucky Star

Casino determined it no longer needed or wanted the tent and informed its owner – North

American’s insured – that the tent should be removed.

        8.      Lucky Star Casino thereupon contracted with Bratt to dismantle the tent and return

same to its owner/North American’s insured, PM Group/CEU, Inc. However, during the course of

the dismantling process by Bratt, several metal parts and panels were damaged, all as a result of the

negligence of Bratt. The damaged parts and panels rendered the tent unfunctional, unusable, and a

constructive total loss.

        9.      PM Group/CEU, Inc., made a claim to North American for the full value of its tent

on a replacement cost basis. On or about September 24, 2015, North American issued payment to


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its insured, PM Group/CEU, Inc., in the amount of $621,770.00, representing the insured amount

of $631,770, less the $5,000 deductible and less $5,000 in salvage value retained by PM

Group/CEU, Inc.

                                        CAUSE OF ACTION

       North American, for its Cause of Action against Bratt, adopts and incorporates paragraphs

1 through 9, above, and further alleges:

       10.     The cause of the damage to the tent owned by North American’s insured, PM

Group/CEU, Inc., was the negligent dismantling by the Defendant, Bratt.

       11.     As a result of the damage to the tent, North American indemnified PM Group/CEU,

Inc., for its loss in an amount in excess of $75,000, and subrogated to PM Group/CEU, Inc.’s right

of recovery to the extent of its payment.

       WHEREFORE, North American seeks damages from the Defendant, Bratt, for an amount

in excess of $75,000, together with attorney’s fees, costs and any and all such other relief as the

Court may deem just and proper.

                                                     Respectfully submitted,


                                                     /s/ Gerard F. Pignato
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JURY TRIAL DEMANDED




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